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                ORDER GRANTING CHAPTER 7 TRUSTEE’S APPLICATION TO
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RI ILQDO DSSOLFDWLRQ IRU )HHV In re Engel, 124 f. 3D 567 (3RD Cir. 1997).

Dated: November 27, 2018                                         By the Court,


                                                                 Robert N. Opel, II, Chief Bankruptcy Judge                         (DG)




 * Execution of this Order approving employment is not a guarantee that payment will ultimately
 be approved in any amount from the estate. Such compensation is dependent on the
 consideration of a final application for fees. In re Engel, 124 F.3d 567 (3rd Cir. 1997).

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